        Case 17-16831-SLM                  Doc 95         Filed 06/14/22 Entered 06/14/22 10:52:31                      Desc Main
Debtor 1               OLGA PAGAN
                                                          Document Page 1 ofCase
                                                                               3 number (if known) 17-16831
                       Name



     Fill in this information to identify the case:


     Debtor 1              OLGA PAGAN


     Debtor 2
     (Spouse, if filing)

     Unites States Bankruptcy Court for   District of New Jersey
     the:                                                                      (State)
     Case Number:     17-16831



Form 4100N
Notice of Final Cure Payment                                                                                                       10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in
the claim below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                         Court claim no. (if known):
 Name of creditor:                  BANK OF NEW YORK MELLON TRUST                                        2

 Last 4 digits of any number you use to identify the debtor's account                    6   4   0   0

 Property Address:                         9060 PALISADE AVE
                                           UNIT 714
                                           NORTH BERGEN, NJ 07047
 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:                                                                          Amount
 .




 a. Allowed prepetition arrearage (or total allowed amount for a mortgage paid in full through the plan):       (a) $21,203.12

     b. Prepetition arrearage paid by the trustee :                                                             (b)   $21,203.12
                                                                                                                      SEE REGISTRY IF
     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):         (c)
                                                                                                                      APPLICABLE

 d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c) and (d) $0.00
    paid by the trustee:
                                                                                                            $831.00
 e. Allowed postpetition arrearage:                                                                     (e)
                                                                                                            $831.00
 f. Postpetition arrearage paid by the trustee :                                                      + (f)

     g. Total. Add lines b, d, and f.                                                                           (g)   $22,034.12

 Part 3:             Postpetition Mortgage Payment

 Check one

          Mortgage is paid through the trustee .


            Mortgage is paid directly by the debtor(s).




Form 4100N                                                   Notice of Final Cure Payment                                          page 1
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 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within
 21 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full
 the amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees,
 costs, and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all
 postpetition payments as of the date of the response. Failure to file and serve the statement may subject the creditor to
 further action of the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.

              û                                                                          06/14/2022
                                                                                 Date

                    Signature



 Trustee            Marie-Ann Greenberg

 Address            30 TWO BRIDGES ROAD
                    SUITE 330
                    FAIRFIELD, NJ 07004-1550


 Contact phone      (973) 227-2840




Form 4100N                                        Notice of Final Cure Payment                                              page 2
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             Name


17-16831

                                         CERTIFICATE OF SERVICE

 I did this date serve the attached document(s) on the parties listed below by placing the same in the United
 States mail with proper postage affixed thereto and addressed as follows:

Debtor(s):
OLGA PAGAN
9060 PALISADE AVENUE
UNIT 714
NORTH BERGEN, NJ 07047

Debtor(s) Counsel:
STEPHEN G. PAPE
187 ANDERSON AVENUE
PO BOX 97
FAIRVIEW, NJ 07022

Creditor:
KML LAW GROUP PC                                           BANK OF NEW YORK MELLON TRUST COMPANY
701 MARKET ST STE 5000                                     PHH MORTGAGE SERVICES
PHILADELPHIA, PA 19106                                     PO BOX 24606
                                                           WEST PALM BEACH, FL 33416


Date:      6/14/2022                                      /s/ CharlesDArrigo

                                                              30 TWO BRIDGES ROAD
                                                              SUITE 330
                                                              FAIRFIELD, NJ 07004-1550




Form 4100N                                   Notice of Final Cure Payment                                       page 3
